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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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IN RE FORCEFIELD ENERGY, INC. DERIVATIVE                                :   Lead Case No. 15-cv-2782-ARR-ST
LITIGATION                                                              :
                                                                        :   FINAL ORDER AND
This Document Relates to:                                               :   JUDGMENT
                                                                        :
         ALL ACTIONS                                                    :
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ROSS, United States District Judge:

         This matter came before the Court for hearing pursuant to this Court’s Order Preliminarily

Approving Derivative Settlement and Providing for Notice, dated November 3, 2017 (the

“Preliminary Approval Order”), on the application of the Settling Parties for final approval of the

Settlement set forth in the Stipulation and Agreement of Settlement dated September 26, 2017 (the

“Stipulation”). Due and adequate notice having been given to Current ForceField Stockholders as

required in the Preliminary Approval Order, and the Court having considered all papers filed and

proceedings had herein and otherwise being fully informed of the premises and good cause appearing

therefore, it is hereby ordered, adjudged, and decreed that:

         1. This Final Order and Judgment (“Judgment”) incorporates by reference the definitions in

the Stipulation, and except where otherwise specified herein, all capitalized terms used herein shall

have the same meanings as set forth in the Stipulation.

         2. This Court has jurisdiction over the subject matter of the Action, including all matters

necessary to effectuate the Settlement, and over all Settling Parties.




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        3. The Court finds that the Settlement set forth in the Stipulation is fair, reasonable, and

adequate as to each of the Settling Parties, ForceField, and Current ForceField Stockholders, and

hereby finally approves the Settlement in all respects and orders the Settling Parties to perform its

terms to the extent the Settling Parties have not already done so.

        4. The Action, all claims contained therein, and any other Released Claims, are hereby ordered

as fully, finally, and forever compromised, settled, released, discharged and dismissed on the merits

and with prejudice by virtue of the proceedings herein and this Judgment. The Settling Parties are to

bear their own costs, except as otherwise provided in the Stipulation.

        5. Upon the Effective Date, ForceField, Plaintiffs, and each of ForceField’s stockholders shall

be deemed to have, and by operation of this Judgment shall have, fully, finally, and forever released,

relinquished, and discharged all Released Claims (including Unknown Claims) against the Released

Persons. ForceField, Plaintiffs and each of ForceField’s stockholders shall be deemed to have, and by

operation of this Judgment shall have, covenanted not to sue any Released Person with respect to any

Released Claims, and shall be permanently barred and enjoined from instituting, commencing or

prosecuting the Released Claims against the Released Persons. Nothing herein shall in any way impair

or restrict the rights of any Settling Party to enforce the terms of the Stipulation.

        6. Upon the Effective Date, each of the Released Persons shall be deemed to have, and by

operation of this Judgment shall have, fully, finally, and forever released, relinquished, and discharged

each and all of Plaintiffs, their beneficiaries, and Plaintiffs’ Counsel from Defendants’ Released Claims.

The Released Persons shall be deemed to have, and by operation of this Judgment shall have,

covenanted not to sue Plaintiffs, their beneficiaries, or Plaintiffs’ Counsel with respect to any

Defendants’ Released Claims, and shall be permanently barred and enjoined from instituting,

commencing or prosecuting Defendants’ Released Claims against Plaintiffs, their beneficiaries, or




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Plaintiffs’ Counsel. Nor shall the foregoing in any way impair or restrict the rights of any Settling Party

to enforce the terms of the Stipulation.

        7. The Court finds that the Notice to Current ForceField Stockholders was made in

accordance with the Preliminary Approval Order and provided the best notice practicable under the

circumstances to all Persons entitled to such notice, and said notice fully satisfied the requirements of

Federal Rule of Civil Procedure 23.1 and the requirements of due process.

        8. The Court finds that during the course of the Action, the Settling Parties and their counsel

at all times complied with Federal Rule of Civil Procedure 11.

        9. The Court finds that the Fee Award of forty-four thousand dollars ($44,000.00) is fair and

reasonable, in accordance with the Stipulation, and finally approves the Fee Award.

        10. The Court finds that the Service Awards of five hundred dollars ($500.00) each are fair

and reasonable, in accordance with the Stipulation, and finally approves the Service Awards, to be

paid to Plaintiffs from the Fee Award by Plaintiffs’ Counsel.

        11. This Judgment, the fact and terms of the Stipulation, including any exhibits attached

thereto, all proceedings in connection with the Settlement, and any act performed or document

executed pursuant to or in furtherance of the Stipulation or the Settlement:

        (a) shall not be offered, received, or used in any way against the Settling Parties as evidence of,

        or be deemed to be evidence of, a presumption, concession, or admission by any of the Settling

        Parties with respect to the truth of any fact alleged by Plaintiffs or the validity, or lack thereof,

        of any claim that has been or could have been asserted in the Action or in any litigation, or the

        deficiency or infirmity of any defense that has been or could have been asserted in the Action

        or in any litigation, or of any fault, wrongdoing, negligence, or liability of any of the Released

        Persons;




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        (b) shall not be offered, received, or used in any way against any of the Released Persons as

        evidence of, or be deemed to be evidence of, a presumption, concession, or admission of any

        fault, misrepresentation or omission with respect to any statement or written document

        approved, issued, or made by any Released Person, or against Plaintiffs as evidence of any

        infirmity in their claims; or

        (c) shall not be offered, received, or used in any way against any of the Released Persons as

        evidence of, or be deemed to be evidence of, a presumption, concession, or admission of any

        liability, fault, negligence, omission or wrongdoing, or in any way referred to for any other

        reason as against the Released Persons, in any arbitration proceeding or other civil, criminal,

        or administrative action or proceeding in any court, administrative agency, or other tribunal.

        12. This Judgment, the Stipulation, the Settlement, and any act performed or document

executed pursuant to or in furtherance thereof, shall not be admissible in any proceeding for any

purpose, except to enforce the terms of the Settlement. However, the Released Persons may refer to

the Settlement, and file the Stipulation and/or this Judgment, in any action that may be brought against

them to effectuate the liability protections granted them thereunder, including, without limitation, to

support a defense or claim based on principles of res judicata, collateral estoppel, full faith and credit,

release, standing, good faith settlement, judgment bar or reduction or any other theory of claim

preclusion or issue preclusion or similar defense or claim under U.S. federal or state law or foreign

law.

        13. Without affecting the finality of this Judgment in any way, the Court hereby retains

continuing jurisdiction over: (a) implementation of the Settlement; and (b) all Settling Parties for the

purpose of construing, enforcing, and administering the Stipulation and this Judgment, including, if

necessary, setting aside and vacating this Judgment, on motion of a Settling Party, to the extent




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consistent with and in accordance with the Stipulation if the Effective Date fails to occur in accordance

with the Stipulation.

        14. This Judgment is a final, appealable judgment and should be entered forthwith by the Clerk

in accordance with Federal Rule of Civil Procedure 58.


So ordered.


                                                                __s/ Allyne R. Ross
                                                                Allyne R. Ross
                                                                United States District Judge



Dated: March 2, 2018
       Brooklyn, New York




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